      Case 2:19-cv-14765-WBV-DMD Document 22 Filed 02/10/20 Page 1 of 8



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

E.N. BISSO & SON, INC.                          §               CIVIL ACTION No.: 2:19-cv-14765
                                                §
VS.                                             §               SECTION “D”
                                                §
M/V BOUCHARD GIRLS, her tackle,§                                DIVISION “3”
furniture, apparel, appurtenances, etc. in rem,§
and the Barge B. NO. 295, her tackle, furniture,§               JUDGE VITTER
apparel, appurtenances, etc. in rem and§
BOUCHARD TRANSPORTATION CO., INC.§                              MAGISTRATE DOUGLAS
in personam                                     §
                                                §

                       VERIFIED COMPLAINT IN INTERVENTION

       NOW INTO COURT through undersigned counsel, come Plaintiffs/Intervenors

Louisiana Machinery Company, L.L.C., d/b/a Resource Power Group, (“ LA Machinery”) and

Force Power Systems, LLC (“Force Power Systems,” and together with LA Machinery, the

“Intervenors”), and file this Verified Complaint in Intervention (the “Verified Complaint”) to

assert claims against the M/V BOUCHARD GIRLS (the “BOUCHARD GIRLS”) and Barge B.

NO. 295 (the “Barge”), and the respective tackle, furniture, apparel, appurtenances for each vessel,

in rem (together, the “Vessels”) and Bouchard Transportation Co., Inc.. in personam,

(“Bouchard,” and together with the Vessels, the “Defendants”), and in support thereof,

respectfully represent as follows:

                                                 1.

       This is an admiralty and maritime action to foreclose upon a maritime lien for equipment

and maintenance support to the Vessels and for suit on open account, within the jurisdiction of the

United States of America and this Honorable Court pursuant to 28 U.S.C. § 1333 and within the

meaning of Rule 9(h) of the Federal Rules of Civil Procedure and the Supplemental Rules

Governing Certain Admiralty and Maritime Claims, specifically Supplemental Admiralty Rules C

                                                 1
      Case 2:19-cv-14765-WBV-DMD Document 22 Filed 02/10/20 Page 2 of 8



and E. The Court also has jurisdiction over this action pursuant to the Federal Maritime Lien Act.

46 U.S.C. § 31341, et seq.

                                                2.

       Venue is proper in this District pursuant to 27 U.S.C. § 1391(b).

                                                3.

       At all relevant times, the Intervenors were and are limited liability companies organized

and existing under the laws of the State of Louisiana, where they supply engines, engine parts,

repairs, and other maintenance support services for vessels.

                                                4.

       Defendant Vessels are an Articulated Tug/Barge unit that comprises the Barge, bearing

United States Coast Guard Documentation Number 955449, IMO Number 8640569 and towing

vessel M/V BOUCHARD GIRLS, bearing United States Coast Guard Documentation Number

955450, IMO Number 8835102, which is registered under the laws of the United States. The

Vessels are currently located within this District subject to Warrants of Arrest which were served

on the Vessels on December 27, 2019. See ECF Doc. Nos. 8, 9.

                                                5.

       At all material times herein, defendant Bouchard was and is a corporation organized under

the laws of State of New York, which is authorized to do and doing business within the jurisdiction

of this Honorable Court. Bouchard was and is the registered owner/operator of the Vessels. Service

of process may be made upon Bouchard by serving Morton S. Bouchard III at 48 South Service

Road, Suite 150, Melville, New York 11747.




                                                2
      Case 2:19-cv-14765-WBV-DMD Document 22 Filed 02/10/20 Page 3 of 8



                                             COUNT I

                                        SALE OF VESSEL

                                                  6.

       During April 2019, the Intervenors provided equipment and repair support on behalf of

Bouchard on open account as evidenced by the invoices attached hereto and incorporated by

reference as Exhibit “A.” (the “Invoices”). Despite providing such equipment and repair support and

requesting payment thereon, Bouchard has failed to pay any amounts owed under the Invoices, which

are due and owing in the principal amount of no less than $3,782.67 and $3,546.58 for LA Machinery

and Force Power, respectively, for a total principal outstanding balance of $7,329.25.

                                                  7.

       Among these services, the Intervenors Force Power Systems and LA Machinery provided

equipment for the Vessels on or about two dates, April 2, 2019 and April 30, 2019, in the amounts

of $3,546.58 and $3,782.67, respectively, on behalf of Bouchard and the Vessels, at Bouchard’s

request, including gaskets, a hose, o-rings, connectors, and other equipment, as reflected in the

Invoices. Bouchard has failed to satisfy the amounts due and owing under the Invoices in the

principal amount of $7,329.25.

                                                  8.

       The equipment the Intervenors provided to the Vessels constitute necessaries under the

Federal Maritime Lien Act, 46 USC § 31341, et seq.

                                                  9.

       The Intervenors sent Bouchard the Invoices in the amount of $7,329.25, evidencing in detail

the parts and equipment provided to the Vessels described above, including the date such necessaries

were provided. See Exhibit A. As established therein and the Invoice Aging Report attached hereto as



                                                  3
       Case 2:19-cv-14765-WBV-DMD Document 22 Filed 02/10/20 Page 4 of 8



Exhibit “B,”1 the total principal amount for which Bouchard and the Vessels are jointly liable to LA

Machinery under the Invoices is $7,329.25.

                                                        10.

         The Invoices reflect necessaries provided and work performed on the order of or for the

benefit of the Vessels and Bouchard. The charges shown on the Invoices were specifically

requested and agreed to by the Vessels and Bouchard, and are fair and reasonable for the work

related to the operations of the Vessels and Bouchard.

                                                        11.

         Despite amicable demand, Bouchard and the Vessels have failed to make proper payment for

the parts and equipment provided by the Intervenors as reflected in the Invoices, which remain past

due and owing to the Intervenors in the principal amount of $7,329.25.

                                                        12.

         The equipment provided by the Intervenors give rise to maritime liens against the Vessels

under general maritime law and the Federal Maritime Lien Act, 46 U.S.C. § 31341, et seq.,

entitling the Intervenors to have the Vessels sold to satisfy the debt pursuant to Rules C and E of

the Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil

Procedure.

                                                        13.




1
  As reflected in the Invoice Aging Report, there are amounts owed to the Intervenors from Bouchard and vessels
owned or operated by Bouchard for which the Intervenors do not seek recovery in this action. The Intervenors intend
to recover such amounts in other proceedings, if necessary, and hereby expressly reserve, and do not waive, any rights
to seek such amounts from Bouchard and those vessels, the credit of which the Intervenors relied upon and continue
to rely upon for repayment of amounts due to the Intervenors, along with the credit of Bouchard.

                                                          4
      Case 2:19-cv-14765-WBV-DMD Document 22 Filed 02/10/20 Page 5 of 8



         The Intervenors thus have maritime liens against the Vessels for the unpaid balances

 under the Invoices, together with attorney's fees of 25% of the amount sought to be collected,

 interest, costs and any other recoverable damages.


                                           COUNT II
                                    SUIT ON OPEN ACCOUNT

                                                   14.

         The Intervenors incorporate and restate in this Count II all foregoing allegations in the

Verified Complaint as if set forth fully herein.

                                                   15.

         Bouchard is justly and truly indebted to the Intervenors in the principal amount of no

 less than $7,329.25, together with interest at the maximum amount allowed by law, until finally

 paid, and for all costs incurred in connection herewith, pursuant to Louisiana Revised Statute §

 9:2781, for the following reasons, to wit.

                                                   16.

          During April 2019, the Intervenors provided goods and repair support to Bouchard,

 which maintained an open account with the Intervenors and incurred charges for those goods

 in an amount no less than $7,329.25.

                                                   17.

         The Intervenors issued Invoices for the equipment provided to Bouchard and the

 Vessels, which are attached hereto as Exhibit A and incorporated herein by reference.

                                                   18.

         The charges shown in the Invoices were specifically requested, agreed to, and are fair and

 reasonable for the work performed by the Intervenors and furnished to Bouchard and the Vessels.



                                                    5
       Case 2:19-cv-14765-WBV-DMD Document 22 Filed 02/10/20 Page 6 of 8



                                                19.

          Despite amicable demand and adequate notice, Bouchard has not paid the balance due on

the account nor attempted to make arrangements with the Intervenors to satisfy the outstanding

amount.

                                                20.

           Accordingly, the Intervenors are entitled to recover the principal balance due on open

 account, $7,329.25, together with the maximum legal interest allowed by law, costs of these

 proceedings, reasonable attorneys’ fees, and any other legal and equitable relief as the Court

 deems just and proper.


           WHEREFORE, Louisiana Machinery, d/b/a Resource Power Group and Force Power

 Systems, LLC pray that Defendants be cited to appear and answer the Complaint and:

  1)       That this Verified Complaint be deemed good and sufficient;

  2)       That process in due form of law, according to the practice of this Court in cases of

           admiralty jurisdiction, issue against Bouchard Transportation, Co., Inc., in personam,

           citing it to appear and answer this Verified Complaint;

  3)       That process according to the rules and practices of this Court in causes of admiralty

           and maritime jurisdiction, particularly Rules C and E of the Supplemental Rules of

           Certain Admiralty and Maritime Procedures issue against the M/V BOUCHARD

           GIRLS and the Barge B. NO. 295, their engines, tackle, boilers, equipment,

           appurtenances, etc., and any other property aboard said vessel, in rem;

  4)       That judgments be entered in favor of Louisiana Machinery, LLC d/b/a Resource

           Power Group and Force Power Systems against the M/V BOUCHARD GIRLS and the

           Barge B. NO. 295, in rem, in the total amount of $7,329.25, and that there be judgment


                                                 6
      Case 2:19-cv-14765-WBV-DMD Document 22 Filed 02/10/20 Page 7 of 8




        herein against Bouchard Transportation Co., Inc., in personam, for the principal amount

        of $7,329.25, on open account, together with costs, expenses, interest and attorney's

        fees as set forth above; and
 5)   That this Court grant Louisiana Machinery, LLC d/b/a Resource Power Group and Force

      Power Systems, LLC such other and further relief which it may deem just and proper.


                                               Respectfully submitted,

LUGENBUHL, WHEATON                             /s/ James W. Thurman
PECK, RANKIN & HUBBARD                         STEWART F. PECK (#10403)
                                               JAMES W. THURMAN (#38494)
                                               601 Poydras Street Suite 2775
                                               New Orleans, LA 70130
                                               Telephone: (504) 568-1990
                                               Facsimile: (504) 310-9195
                                               Email: speck@lawal.com;
                                               jthurman@lawla.com

                                               Attorneys for Louisiana Machinery, L.L.C.
                                               d/b/a Resource Power Group and Force Power
                                               Systems, L.L.C.




                                               7
Case 2:19-cv-14765-WBV-DMD Document 22 Filed 02/10/20 Page 8 of 8
